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                     PSJ11 CVS Opp Exh 9
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   From:                    Bourque, Tom M. </O=CVSCAREMARK/OU=EXCHANGE ADMINISTRATIVE GROUP
                            (FYDI BOHF23SPDLT)/CN=RECIPIENTS/CN=TMBOURQUE>
   To:                      Schiavo, Craig
   Sent:                    1/15/2014 11 ·12:38 AM
   Subject:                 FW: SOM Presentation 1-16-14.pptx
   Attachments:             SOM Presentation 1-16-14.pptx



   Craig,
   This is good. I added our department org chart to the front. I will speak to it, as well as roles and responsibilities
   of our team, and how each department works together ... then I'll turn it over to you to finish, and after the deck, go
   thru Archer SOM system highlights ...

   Let's make sure we have a projector, and copies for all attendees.

   Thank you,
   Tom

   From: Schiavo, Craig
   Sent: Wednesday, January 15, 2014 9:14 AM
   To: Bourque, Tom M.
   Subject: SOM Presentation 1-16-14.pptx

   Tom,

   As I was driving home last night I thought of some additional things I wanted to add ... attached are the updates.

   Thanks,
   Craig




                                                                                                                     EX. 16
                                                                                                                      1-17-19
                                                                                                                 CVS-Schiavo
                                                                                                                Maureen Pollard, RMR




CON Fl DENTIAL                                                                                            CVS-MDL T1-000078060
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                                                                                CVS r Ritgl.1.rtcr,
                                                                          (,\f!fMl\$..K IC•~•"=




                               Suspicious Order Monitoring (SOM)
                               January 16, 2014

                               Tom 9ourquit -Sr. Direct or, Compli,ance
                               Craig S<hlawo- Sr. M,inagl!r, Compliance




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                                                                                                                           CVS j R•91;br:crr
                               Regulatory Compliance team ...                                                        (i\Rf)V\I.J$ i CO/l'IJ)~OC'9




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                                                                                                                                            CVS 'I R•911lltcr r
                               DEA Expectations                                                                                      C,\RF..W\ll._K c•~•"~

                                ''DfA 1egulations require wholesale distributors to report suspicious orders of controlled subsronces.
                               TTtle Z 1 CF/I JJQl.74/b), ,pedf/rolly requires that a reg/5rron1 "design and operate a sy,tem to dlsclose
                               to the regi1trantsuJpidous orders of crmtroJltd .substances." The r-egulat;oo dearfyindicates Chol it                        .::S

                              tlie .sole responsibility of tlie registrant ~o design and operate wch a system... Registrontsmustconduct
                                 an independent analysis af suspicious ardtrs prior 10 completlnq a sale to detetmine whethet the
                                   contralk-d sub.stances are (ikely to be d;verted from legitimate chonn~ls, Reporting an order as
                                   suspicious wiJI not absolve the registrant                of responsibi/iry1f the registrant knew, or should hove
                                                           known that the controlled sub sconces were being di'lerted...


                                  "'Registrants that fiJI these orders (potential stispiciour ordersj, without first determining that the
                               order 1, nor b,ina otoene« lnro other than reorrrmore medical, sclenr(flc, and lndvsrrlal channels, may
                              br: foilirig lo maintain t:ffecli11e:. controls against divr:rsion. Fo;fure to maintain r:/jt:(liv~ umuols agaimit
                               di111:rsiorr is im:om,istenl with flu!        µublicinl~,esl us tlJCJt lcrm i!. Uled in 11 USC JJ23 uncJ 824, cmcJ muv
                                                  resulr In rhe revocation of the regisrranr's OEA Certificate or ReotsuatkJn."


                                                                                                                              December 2007 tettcrfrom DfA

                               •••ru: h;t1~/J!!:'"'l'l'dWdY!fl!R'Hf~CtGY1ill•filr(tJ110111Jcg. Z! Mm
                                                                                 0J S/Cif.im1rltPrMl 111d &   Con11Dl11U.il




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                                                                                                                                         CVS
                                                                                                                                    CARE,W\llK
                                                                                                                                                    I C•~•••=
                                                                                                                                                     Re91.:l1tery
                                Penalties Levied by DEA
                              w~1,rccn1
                                      June:20U- p:ild $80 m!lllon In fines to end .i DEA prebe lnco:illc-g.:itlon~ It :11\0-,.,·cd mllllons of con;:rollcd
                                                                                                                               1


                                      substerces, lncludlnc oxycodoneo, to reach the !>lack:markl!.'!t.
                                      Sept:enb er2012 - DEA Registration suspended until 5cptcmbcf 201'1 in their Juaiiter. FL di)tribution ccnlcrdue
                                      to 1:i.clc of:i con·no!!: cr mcnncnog sales of contr::ollcd i::ubsunoo,:,nd ,;.1w: of rte ~lorld::i ph:,rm:ic.1~ until M:i'{
                                      1014.

                               Cardinal Health
                                     February 2012 - DCA. Re,ai.H ralian srJspl!r.ded lor 2 veats in FL dis.tribulion eenteebecause ol sales ol Oxytodt:ne
                                     to 4 pharmacies In FL (Z cv~·;, DEA flermlt suspended).
                                     In 2006 - paid $3'1 million ln nnes lo settle c.h•rge) lhal ft Ialled 10 report suspicious orders of hrdrocodcrte by
                                     ph,eirmacies eperaung on lht lnlerr11:L Ct1n.li11•r::. cornfac.l bllow~d 'the UL,·~r~1011 or 111ill\011~ of des age uni~::. er
                                     l1ydrocodonc (rom ~&itirr..Jlc to ncm•lcgitim.itc ch,11111c~.· rhc DCA sald.
                                     November2DD7 -the DEA Registration suspe1ded for their A~bum. Wa~h., dlm1butlcn faclllty for selllng 18
                                     mllllon h~rocodone pm n nine mcmns c:, retail ctrugs.tores. lhe comp an·, sold 605,000 plll~ 10 one s101e In
                                     Burlington, Wush., over a seven-month period, the DCi\said.
                                     De camber 2007 . the DEA. Rc!gis1rntiQn. s:u~r,(!nded for u,olr Loliclvnd distribution cc-ntcr for s~ling terge
                                     amcuntr of conlrol'.ad r.ubtt::incoc, p:articul:;ulv hydrcxodono, to Hbs.il lnternot phlr'rn::icicu.
                                     fv.Jcust Z.OQS - DEA officials had warned Cardin;1I ebout its excessive sales of hvdrocodone druts, such a~
                                     Vlt;Qd!n, 1r, nn I~ pPli]rrn;,r.-~ ftlllng 11ieg1,J J'lrl'!!i(rll'J!IOn~.

                              AmerlsourceBer1ien
                                   April 2007 • Temuorarilv had Q_EA~J::hiJ!!ll~ujm_nQ!;.!,J (or tht'ir fk:lridd di::.tribuliol'I cl!'nrer.
                                   The DCA claimed Amcrlsource8e1t1en did nol rm,rn\~!n eflei:Uw cc,r1lrols cigulnsl Olve-1sltrn of c.ur11rollcU.
                                   substances.
                                   Se11lemenLundisclosed.

                                                                             CV5/CKen1arli:r>1lwr11d & Co,iflt»nti•I




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CONFIDENTIAL                                                                                                                                                              CVS-MDL T1-000078064
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                                                                                                                           CVS [ Rl'g1;l1tcrr
                                Penalties Levied by DEA                                                               CARf!t\l\llK c•~•"=

                               KeY$0Ul'a! Mt':dlcal
                                   • Aprll 2012- TemporarUy had DEA registration suspended for shipments of suspicious orders
                                        and p."lid $320 OOOin fines

                               Sunrise Wholesale, Inc.
                                    • June 2010- Surrendered DEA license

                               Harvard Dru~ Group
                                    •    June 2010- Temporarily had DEA regi!;trntlon suspended for shipments of susprcous orders
                                         and µaid $8 million jn fines

                               McKessor1
                                   • May 2008- Temporarily had Q~f\.X~&~tf31~i~n-~_u.~pend~~ for tailing to report a suspicious
                                         order and paid 513,2.S million In fines

                               Bell co Drue: corporation
                                    •    July 2007 · P.iid $BOO 000 in fines for not reporting suspiciou:a orders and surrendered its
                                         DEA rt;wislroation

                               Scuthwood Pharmaceutical Inc.
                                    •    December    2006- D~!u~glsf[afloo~rrn~n.~nJ!Y..~.t~s_pe11de_d for shipping suspicious orders



                                                                      CV5/Care1l!ill'lcPrlltiltt1.1d & Confldtnti~I




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CONFIDENTIAL                                                                                                                                        CVS-MDL T1-000078065
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                                                                                                                              CVS!    Ritgvl.rtcrr
                                  Keys to an Effective SOM Program                                                     (,\Rf~Wl_KiC•••"=

                                 Know Your Customer
                                    The DEA expects registrants to ''Know Your Customer" and even to Know Your Customers,
                                    customer N.Noarder should be released unless the team is ccmfcrtable that It is for legitlmate
                                    purposed.
                                 Documentation
                                    All correspondence wirh the field and other bustncss nartners that pertaln to either clearing or
                                    blocking a fll'lgged order must be documented in derail in case ever questioned by the: DEA,
                                    Any Information that Is looked at outside of the SOM Algorithm output rnusr be
                                    referenced/documented if it is used to deterrnlne the legitimacy of an order.
                                    Once an order Is determined to be Susplclous or whether It Is deemed that the order is regltimate, it
                                    is important that we document how we c.ameto that declstcn.
                                     All communications and dtscusslons v-1th the DeA, local law enforcement, and State Ooards of
                                     Pharrnacy must b~ documented in detail.
                                       - Ant' requests rcr mfcnnstlon from stare c111d r.overnmtnt agencies 1T1us.t be done so in writinr,.
                                 Detailed Policies and Procedures
                                    The DEA expects ccmpantes to hove detailed policies and procedures that arc documented and
                                    available for review during on si1e Inspections.
                                       - IMPORTANT: 1r It i5 documenLed In our SOP'~, IL b.essentlal that we execute as wnuen in the policies
                                          vnd prcccdvrcs.
                                                                        CVS/Cir•mill'kPfivil1111d & Corifldl!-ntlil




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CON Fl DENTIAL                                                                                                                                           CVS-MDL T1-000078066
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                                                                                                                              CVS! Reg-.:llterJ
                                Keys to an Effective SOM Program (Cont.)                                               (Af{f.Ml\!J._K i CoMp~~

                               Consistenc-y
                                  It f~ Important that the team It ccnsistant In the w.rywe approach the due dilisence procES> and
                                  our decision making process.
                                     - If w~ are invc!>ti~tc:c.J l,y the DEA end they are rcYiewing our Archer· AfJplitotion end wrious
                                         records, It is lmporunt that there 15 roralsrencv ln our thoueht process when reviewing orden. This
                                         wlD llmlt the questions around why some- order,; were re-leased In some, cases but nor others.
                               Communication
                                  Be-cause the SOM process ef#erts many of our Internal business partners (fhe Fiek:t, DC
                                  ocerarons, Pharmacy Ops, Loss Prevention, Compliance, LegaL) It i:s lmportant that there are
                                  open lines of cornmunicatlon between 3N involved parties.
                                     - Effective communlc..ition will Ol"c,-cn1 duplicJting wOl'l when there are invcstlg.itions :M~J.dy
                                         ooe:oiog in soee cases, and will 3JS;o lw<l lu ~lrcamlinini: the due dili9erH.-e- precess tillowinc the
                                          team to review and close- cases in a more timdy manner'.
                               Not Just a Systematit Approach
                                     Although the SOM Algorithm is an esscntta! piece to an effective SOM Program, it cannot solely be
                                     n~liP.d on in identifying porentiallv suspZ::imJS activitv in our cuetcmers (Retail Pharm;iciP.s)
                                     practlres.
                                       - Other vrays to ldenlify stores that should be looked .at closer and require additional due dilig ence is
                                         L>y r c-vh:wln" uur ARCOS f.e purts and revtewlnrt uur hirh~~t ordering stores via sales reccrune.
                                                 A~aJS reports ordv incluc1<' schedule- 111 mntro llrd ~uhr.f;incc~. Schr.dulc IV·V controlled
                                                 substances would need to be obtained though separate data runs.
                                                                       CVS/CM .. u.wkPrlvilrud & C<infldentl•I




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                                                                                                                              CV5!Rirs1..i1tcrt
                                  DEA Reporting Requirements                                                            C,\Rl:t,\l\l\K [ Co~•"=

                                CVS is obligated to report orders determined to be Suspicious that were placed to
                                our Distribution Centers to the DEA within 24 hours of the determination being
                                made.
                                     Orders of both controlled substances and Listed Chemicals need to be reported to
                                    the DEA.
                                       -   Any store who has an order identified as suspicious will not be allo wed to (lrder the
                                           suspicious drug family again until remediation plans are developed and implemented.
                                       - Some cruas are only cor,slc1Ned controlled suosierces In certain states, these drugs do nor
                                           need to be reported to the DEA.
                                    Orders deemed Suspicious will be reported to the Local DEA of the ordering store
                                    via certified letter.
                                  • Orders that are placed to an Outside Vendor that we Identify as an order deviaclng
                                    from the normal size, frequency, and/or buying pattern and deemed to not be for
                                    legitimate purposes or are at risk of being diverted are not required to be reported
                                    to the DEA.
                                           Pharmacy Operations must be alerted tha.t there is an order of interest that was: placed by
                                         lhe store :m that rern edlation plans cen be developed and Imple me nted.
                                       - Until all remediation's arc Implemented, the store will not be allowed to order from our
                                           Distribution centers.
                                                                    CV S/Cill'" .. ll~k PrMl 1111d & Confldl!-n ti.JI




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CON Fl DENTIAL                                                                                                                                        CVS-MDL T1-000078068
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                                                                                                                                CVS I R1tg1.i1tcrr
                                   Key Takeaways                                                                            (ARFM"JkK I c.,. ..,=

                                 • DOCUMENTATION, DOCUMENTATION, OOCUMENlATIONfll
                                     - Documentlni: 111 activities that lead to the dispos.ltlon of an order Is key to a defenslble SOM Program.
                                     - If It is not document4!d, II was not done.
                                 • Vou are protee:tlng each Distribution Centers DEA Regls1raUon
                                      - ttislmpcrtant lo remember that your rcsponsibilily is to cbtnin and document cs much information us
                                         possible to address all identified '"P.:ed Flags." If all "Red F!ilgs" cannot be resolved adequately, we
                                         cannot release the order,
                                            ,/ JustbC!c:au.~e the Pharmacist says tke ordaris la.fitim.ate, does not mean that ii is.
                                 • Orders should only be adlusted In situations of a true "1.it finger," or lcgltlmatc ordering error
                                      - Tile responslblhlV or the tearn ls to lleterrnlne 1r an order plaL-ed by the store Is ru, legttlmate purpuses
                                        and nor '31 rl'Sk of po~lhle dlverslon. MmlU'fl11g ordr.rs a common practice can be seen by lhe 01:A as a
                                        way of tryinc to slay under the radar and workinc around th SOM system.
                                 • Orders that are deemed as Susplclous must be reported within 24 ho1.1rs
                                      - Orders that.are flaeeed bv the SOM A1Ecrilhm are "Orders of Interest" until we complete         the due
                                        dlllgenco process and are unable to dNermine its leg1tim;cy.
                                 • rne DEA willfoHow up on Suspicious Orders
                                       - Do not volunteer ;my mtcrmanon 10 the DE/\, only provide lnrorm.Jtlon to answer the qLIMclon1hat Is
                                         asked.
                                       - Nothins;said is off the record ..
                                       - If you do not know the aoswer to ony question, do not guca... it is OK to let the ir,v,e~tig;>tor know you
                                         will r1ccd to look into ~omcthli,g more und 11c.:t buck tu thc:m.
                                       - BL'forc :.iny lnferrnuttcn cm bl' rclcaucd to the DEA, we must ob~in the request in writin~ and h.rvc it
                                         reviewed by our L~9al Department
                                                                          CV5/C.,e111~lcPrlvil111d   & Conflditnliil




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CON Fl DENTIAL                                                                                                                                              CVS-MDL T1-000078069
